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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
Jacksonville Division

IN ADMIRALTY

GEICO Marine Insurance Company, —_ Case No.: 3:20-cv-00952-BJD-JRK

Plaintiff,
vs.

Grantland Kingman, Diane Jarvis, and
Comerica Bank,

Defendants.

/

SECOND AMENDED COMPLAINT
FOR DECLARATORY JUDGMENT

Plaintiff, GEICO Marine Insurance Company (hereinafter referred to
as “GEICO Marine” or “Plaintiff”), through undersigned counsel, sues the
Defendants, Grantland Kingman, Diane Jarvis and Comerica Bank
(hereinafter referred to as “Kingman”, “Jarvis” and “Comerica” or
collectively as the “Defendants”), for declaratory judgment pursuant to the
Federal Declaratory Judgment Act, 28 U.S.C. § 2201, and sues Jarvis for

damages, and alleges as follows:
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1. GEICO Marine files this Amended Complaint to obtain a judicial
determination and declaration of the parties’ rights and obligations under
GEICO Marine policy number BUS5118616-03 issued to Defendants for the
period from July 27, 2019 to July 27, 2020 (hereinafter the “Policy”) and to
recover damages.

2. The policy attached to this complaint as Exhibit “A” is a true and
correct copy of the Policy issued to the Defendants.

3. An actual and justiciable controversy exists relating to the
parties’ respective rights, duties, and obligations under the Policy.

4. Specifically, GEICO Marine seeks a declaratory judgment that
the Policy does not provide coverage for claims asserted by the Defendants
for damage to the S/V Monarch, a 1974 Hinckley Yachts 49-foot mono hull
sailing vessel (hereinafter referred to as the “Vessel”).

5. | Defendants claim that the Policy provides coverage for damage

to the Vessel.

6. GEICO Marine contends that the Policy does not provide
coverage.

7. There is an actual controversy between GEICO Marine and the

Defendants involving their respective rights and liabilities under the Policy.

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8. This matter is now ripe for adjudication.
The Parties
9. | GEICO Marine is an insurance company authorized to transact

insurance business in the State of Florida.

10. Defendants are the owners of the Vessel.

11. Kingman resides in Green Cove Springs in Clay County, Florida.

12. Jarvis resides in Fernandina Beach in Nassau County, Florida.

13. Comerica is a bank and financial services company listed as the
loss payee on the Policy.

Jurisdiction and Venue

14. This case falls within the Court’s admiralty and maritime
jurisdiction under 28 U.S.C. § 1333.

15. Plaintiff designates this claim as an admiralty and maritime
claim within the meaning of Rule 9(h) of the Federal Rules of Civil
Procedure.

16. Venue is proper in this district because Kingman and Jarvis
reside in this district and are subject to personal jurisdiction and service of

process in this district.
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17. Marine insurance policies, like the Policy GEICO Marine issued
to Kingman and Jarvis, are maritime contracts subject to this Court's
admiralty and maritime jurisdiction.

Facts and Relevant Policy Provisions

18. On or about July 20, 2020, GEICO Marine received a telephone
call from Jarvis reporting that the Vessel had been vandalized and needed to
be towed to a commercial dock. GEICO Marine paid one thousand three
hundred dollars ($1,300.00) to have the vessel towed.

19. In a later telephone call to GEICO Marine, Jarvis identified
Kingman as the person who had vandalized the Vessel.

20. Among other things, Jarvis stated that Kingman had cut the fuel
line and damaged the Vessel’s fuel pump.

21. As support for her assertion that Kingman had vandalized the
Vessel, Jarvis had her attorney provide a copy of a text message sent by
Kingman to Jarvis which states that if the Vessel’s engine is started “there is
a risk of fire or flooding the boat. I don’t know which would happen first.”

22. GEICO Marine appointed a marine surveyor to inspect the

damage, but Jarvis denied him access to the Vessel.
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23. Asecond attempt was made to inspect the Vessel on August 12,
2020, and on that occasion the inspection was permitted.

24. At the time of the survey, Jarvis provided the surveyor with a
written list of 21 items of alleged damage to the Vessel which she titled “List
of Vandalized Property on Monarch.”

25. Based on his inspection of the Vessel, discussion with Jarvis and
investigation of the claim, the surveyor made the following findings:

a. Jarvis reported that Kingman had removed the doorknob

on the back door.

b. | A vessel mechanic stated the fuel line had been gouged
and cut.

c. The fuel pumps were reported to have been mysteriously
disconnected.

d. The bow thruster had been cut out. Jarvis told the
surveyor that she thought Kingman believed she would not be able to
move the vessel without it.

e. | The shore power was not charging the house batteries,

which appeared to be a maintenance or mechanical issue.
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f. | There was a damaged starboard aft stanchion which
appeared to be a mechanical issue because the broken portion was
corroded.

g. The upper and lower lifelines were damaged which again
appeared to be a mechanical issue because there was corrosion on the
cables and missing plastic shroud.

h. The striker was removed from inside the ship’s bell. Jarvis
stated that she had no idea why Kingman would take that.

i. The latch on the hatch was broken. Jarvis stated that this
was not previously damaged, and it made her feel unsafe.

j- Jarvis reported 9 feet of teak missing which was apparently
taken at the time of the vandalism.

k. | The midship hatch was gouged out.

I. The aft head was disconnected. This appeared to be a
maintenance problem.

m. Jarvis reported that antique brass candlesticks were
missing and apparently taken during the vandalism.

n. Jarvis reported that designer prescription glasses were

missing and apparently taken at the time of vandalism.

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o. A special wash handle was also apparently taken during
the vandalism.

p. The 50-amp splitter was destroyed. There were 2 burn
marks indicating a maintenance or mechanical issue.

q. A sizzling sound was noted when the shore power was
turned on. This was attributed to a likely maintenance or mechanical
issue.

r. | The compressor would not turn on as a result of a likely
maintenance or mechanical issue.

s. | The inverter was blown. The surveyor believes this is a
possible maintenance or mechanical issue.

t. The dishwasher would not start, because there were
objects in the strainer. The surveyor concluded this was most likely a
maintenance or mechanical issue.

u. Jarvis claimed that recliners on the Vessel were damaged,
but the damage appeared to be from normal wear and tear with no

visible signs of cuts or abuse.
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v. There is a hole in the bow. The harbor master advised that
Kingman struck the dock with the bow while attempting to moor the

vessel and had covered the damage with tape.
26. Section IV, subparagraph 3 of the Policy states:

“We’ will pay for “property damage” to an “insured
boat” its engines and items listed in Coverage
Provided from any accidental cause including theft
or vandalism. “We” do not pay for any intangible
loss, such as loss of use or value, living expenses, or
“obsolescence.” All coverages are subject to the
limitations and exclusions of the policy.”

27. Property damage is defined in the Policy as “direct physical
injury to, or destruction of, tangible property.”
28. The coverage provided by the Policy under Section IV is subject
to the following exclusions:
5. Exclusions
This insurance does not cover:
a. Any loss caused directly or indirectly by wear and
tear, gradual deterioration, mechanical or electrical
breakdown, overheating, galvanic action, rot, mold
or mildew, corrosion, electrolysis, marring,

scratching, denting, vermin, animals, marine life, or
insects;
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e. Any loss, damage, expense or cost of repair caused
directly or indirectly by incomplete, improper or
faulty repair, maintenance, or renovation;

K**

g. Any loss, damage or expense caused intentionally
by, with the knowledge of, or resulting from criminal
wrongdoing by any “insured”;

KEK

i. Any personal items (including, but not limited to,
scuba gear, fishing gear including rods, reels, and
tackle, sporting goods, clothing, portable televisions
and stereos, and cameras, ....

29. Additionally, Section V - General Conditions, Paragraph M

provides:

“This policy is to be construed under United States
federal admiralty law. In the absence of controlling
United States federal admiralty law, this policy is to
be construed under the laws of the state listed on the
Declarations Page as “your” address of record,
without regard to that jurisdiction’s rules on choice
of law.”

30. The damage to the Vessel claimed by the Defendants was not
accidental or fortuitous.

31. The damage to the Vessel claimed by the Defendants falls into

one of the exclusions quoted above.
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32. In his Examination Under Oath (“EUO”) taken on August 25,
2020, Kingman acknowledged that much of the claimed damage was simple

maintenance because of wear and tear.

The things that your surveyor found, okay, were
some of the things that she wanted me to fix. And
you can see what your surveyor's comments were.
They were just maintenance type items, typical wear
and tear. You know, the broken stanchion was
corroded and that's probably partly why it broke.
And, you know, those kind of things. And so, you
know, to me, if that happened, stanchion broke, I'd
just take it off and go take it to a weld shop and get
it fixed, put it back on. But Diane doesn't seem to be
capable of that. She wants, you know, somebody else
to pay for that, and so I think the same thing with the
bow, okay. I would never put a claim in for the
damage to the bow. I've repaired -- I've repaired the
stern, the sides of the hull, the bottom of the hull, the
whole hard dodger was -- I made that out of
fiberglass. You know, I'm very capable of working
with fiberglass and I would have never put a claim
in. I would have just finished that repair that I was
doing to the bow, so.

(Kingman EUO, pp. 19:16 - 20:9).
33. Because the reported losses are not covered or are expressly

excluded under the Policy, GEICO Marine denied coverage for the losses.

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Count I - Lack of Coverage

34. Plaintiff restates the allegations in paragraph 1 through 33 and
further alleges as follows:

35. Only accidental or fortuitous damage is covered by the Policy.

36. Intentional damage, damage caused directly or indirectly by
wear and tear, gradual deterioration or corrosion and damage resulting from
lack of maintenance is not accidental or fortuitous.

37. As the damages claimed by the Defendants are neither
accidental nor fortuitous, they do not come within the coverage provided by
the Policy.

WHEREFORE, GEICO Marine respectfully requests that a declaratory
judgment be entered in its favor and against the Defendants finding that the
Policy does not provide coverage for their losses and awarding further relief
deemed proper under the circumstances.

Count II - Intentional Acts Exclusion

38. Plaintiff restates the allegations in paragraph 1 through 33 and
further alleges as follows:

39. Any damage to the Vessel caused intentionally by Kingman is

expressly excluded from coverage.

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40. The intentional acts exclusion applies to both Defendants, even
though only Kingman is alleged to have committed the damage.

41. There is no coverage under the Policy for damage intentionally
done by Kingman.

WHEREFORE, GEICO Marine respectfully requests that a declaratory
judgment be entered in its favor and against the Defendants finding that any
damage caused intentionally by Kingman is expressly excluded from
coverage and awarding further relief deemed proper under the
circumstances.

Count III - Wear and Tear

42. Plaintiff restates the allegations in 1 through 33 and further
alleges as follows:

43. Any damage or “loss caused directly or indirectly by wear and
tear, gradual deterioration, mechanical or electrical breakdown,
overheating, galvanic action, rot, mold or mildew, corrosion, electrolysis,
marring, scratching [or] denting” is expressly excluded from coverage under

exclusion 5a.

44. Specifically, the following items of damage fall under this

exclusion:

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a. The shore power was not charging the house batteries,
which appeared to be a maintenance or mechanical issue.

b. There was a damaged starboard aft stanchion which
appeared to be a mechanical issue because the broken portion is
corroded.

c. The upper and lower lifelines were damaged which again
appeared to be a mechanical issue because there was corrosion on the
cables and missing plastic shroud.

d. The aft head was disconnected. This appeared to be a
maintenance problem.

e. The 50-amp splitter was destroyed. There were 2 burn
marks indicating a maintenance or mechanical issue.

f. A sizzling sound was noted when the shore power was
turned on. This was attributed to a likely maintenance or mechanical
issue.

g. The compressor would not turn on. The surveyor believes
this is a likely maintenance or mechanical issue.

h. The inverter was blown. The surveyor believes this is a

possible maintenance or mechanical issue.

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i. The dishwasher would not start, because there were
objects in the strainer. The surveyor concluded this was most likely a
maintenance or mechanical issue.

j- Jarvis claimed that recliners on the vessel were damaged,
but the damage appeared to be from normal wear and tear with no
visible signs of cuts or abuse.

45. Because these items of damage fall under exclusion 5a., there is
no coverage for them under the Policy.

WHEREFORE, GEICO Marine respectfully requests that a declaratory
judgment be entered in its favor and against the Defendants finding that any
damage caused directly or indirectly by wear and tear, gradual
deterioration, mechanical or electrical breakdown, overheating, galvanic
action, rot, mold or mildew, corrosion, electrolysis, marring, scratching
denting is expressly excluded from coverage and awarding further relief
deemed proper under the circumstances.

Count IV - Personal items

46. Plaintiff restates the allegations in 1 through 33 and further

alleges as follows Plaintiff restates the allegations in 1 through 33 and

further alleges as follows:

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47. Defendant's claim for loss of personal items is expressly
excluded from coverage.

48. The personal items claimed by Defendants include the
following:

a. The striker was removed from inside the ship’s bell. Jarvis
stated that she had no idea why Kingman would take that.

b. Jarvis reported that antique brass candlesticks were
missing and apparently taken during the vandalism.

c. Jarvis reported that designer prescription glasses were
missing and apparently taken at the time of vandalism.

49. Because these items of loss fall under exclusion 5i., there is no
coverage for them under the Policy.

WHEREFORE, GEICO Marine respectfully requests that a declaratory
judgment be entered in its favor and against the Defendants finding that any
loss or damage to personal items is expressly excluded from coverage and
awarding further relief deemed proper under the circumstances.

Count V - Damages
50. Plaintiff restates the allegations in paragraphs 1 through 33 and

further alleges as follows:

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51. Plaintiff conferred a benefit on Jarvis by paying to have the
Vessel towed.

52. Jarvis had knowledge that Plaintiff paid to have the Vessel
towed and voluntarily accepted and retained the benefit of that payment.

53. The circumstances are such that it would be inequitable for the
Jarvis to retain the benefit of the towage payment without paying the value
thereof to the Plaintiff. Specifically, it is inequitable for the Jarvis to retain
the benefit of the towing or any other expenses when the need to incur those
expenses flows from damage intentionally caused by Kingman.

WHEREFORE, Plaintiff respectfully requests that this Court award it
damages against the Jarvis, jointly and severally, and further relief deemed

proper under the circumstances.

(Signature page follows).

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Respectfully submitted,

WHITEBIRD, PLLC.
Attorneys for Plaintiff
GEICO Marine

/s/ Ted L. Shinkle

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CERTIFICATE OF SERVICE
] HEREBY CERTIFY on this 20 day of May, 2021 that a true and

correct copy of the foregoing has been filed with the Clerk of the Court, U.S.
District Court, Middle District of Florida, using the CM/ECF filing system.

[s/ Ted L. Shinkle
Ted L. Shinkle, Esq.

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